Case 1:03-cv-OlllO-STA Document32 Filed 05/03/05 PagelofS P e|D 32

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IN THE UNITED STATES DISTRICT coURT day \ 0
FoR THE WESTERN DISTRICT 0F TENNESSEE `J p "'C.`
EASTERN I)IVISION "'"'~¢} /l' 5_.

JIMMY WAYNE FORSYTHE and wife, )
FREDA JOY FORSYTHE,

 

Plaintiffs,
vs. NO.: 03-1110-T-An

RUPORT BARNES and DOGGETT
AUTO & TRUCK SALVAGE, INC.,

‘\_V\-V\-¢"_F\_V\-/‘\_/\-V\_V`.’

Defendants.

 

ORDER GRANTING MOTION TO CONTINUE TRIAL
AND SETTING TELEPHONE CONFERENCE

 

Pursuant to an Order of Reference entered Apn`l 18, 2005, the Plaintiffs’ Motion to
Amend Scheduling Order and to Continue Trial has been referred to the Magistrate Judge for
determination

It appearing from the motion that the motion is well taken and the Motion to Amend
Scheduling Order and to Continue Trial is GRANTED.

As such, the Court shall conduct a telephone conference on TUESDAY, MAY 24, 2005
at 10:30 a.m. for the purpose of discussing modification of the Scheduling Order and setting a
new trial date. Counsel are directed to confer pn`or to the telephone conference regarding

proposed deadlines and a new trial date. Mr. Verner Smith, counsel for Plaintiffs, shall initiate

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the conference call to all attorneys prior to contacting the Couit.

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: ;!; (;A‘l? d.z' ZOOS/

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 1:03-CV-01110 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

